Case 2:18-cv-05741-DMG-PLA Document 230-7 Filed 03/27/20 Page 1 of 4 Page ID
                                 #:5535




                       Exhibit W
                    ORR March 20 Stop Placement




                 Defendants’ Opposition to TRO - Exhibits              048
       Case 2:18-cv-05741-DMG-PLA Document 230-7 Filed 03/27/20 Page 2 of 4 Page ID
                                        #:5536
From:                     @Vera.org>
Sent: Friday, March 20, 2020 3:27 PM
To:



Subject: RE: COVID‐19 Stop Placements

Dear
Thank you for sharing. We will share with our subcontractors.
On the call we were told there was a stop placement for Washington, New York and California. I see a number of other
sites outside of those states on the list below but I assume that is a safeguard given the social distancing best practice
and the conditions at the program (not because of suspected infection at those sites). Is that correct?
We see Canaan New York on the list. Is that operational? We had not yet been informed they were up and running.
Thank you,



From:                               @acf.hhs.gov>
Sent: Friday, March 20, 2020 11:08 AM
To:                    @Vera.org>;                          Vera.org>;                             @Vera.org>;
                            @Vera.org>;                       @vera.org>
Cc:

Subject: COVID‐19 Stop Placements


* PLEASE NOTE: EXTERNAL EMAIL *

Good Afternoon All:
Hope all is well. Please see the below stop placements in place as discussed in the earlier email correspondence related
to COVID‐19:

Regards,




                                                             2

                                Defendants’ Opposition to TRO - Exhibits                                      049
Case 2:18-cv-05741-DMG-PLA Document 230-7 Filed 03/27/20 Page 3 of 4 Page ID
                                 #:5537




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                 Defendants’ Opposition to TRO - Exhibits              050
       Case 2:18-cv-05741-DMG-PLA Document 230-7 Filed 03/27/20 Page 4 of 4 Page ID
                                        #:5538



Division of Unaccompanied Children Operations
Office of Refugee Resettlement
Mary E. Switzer Building, 5th Floor
330 C Street SW, Washington, D.C. 20201
(

            acf.hhs.gov




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                              Defendants’ Opposition to TRO - Exhibits        051
